                                    Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 1 of 19

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I.    (a) Pl,Al\TIFFS                      Cheryl Turk                                                                                          r,ETE\DANTS        tate arm UtUa                                                 mobile lnsurance Company
                                                                                                                                                d/b/a State Farm lnsurance Co


      (b)    Counry ol Rcsidence ofFrrsl Lrlrcd PlaintrlT                                  Bucks                                                County ofRcsidenc. of                firsl Lasted Dcfcndanl         McLean
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1234 Bridqetown Pike, Suite '1'10, Fdasterville, PA 19b53                                                                                        ^\omc's
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                           TNSTRUCTIONS FOR ATTORNEYS COMPLETING                                               CryIL COVER SHEET FORM JS 4,I
                                                                               Autho.ity For Civil Cover Shcel

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 VII.           R.qucsrcd ir Complrinl. Class Action. Placc an "X" in this box ifyou are filing a class action under Rule 23. F.R.C!.P.
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                                                                               UNITED STATES DISTRICT                                  COURT                                               APPENDTX P
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Addr6. ofPlrlntiff             2013 Sunrise Way, Jamison, PA 18929

AddrB. or Dercndsr One State Farm Plaza, Bloomington, |L617'10

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                                                                                                 APPENDIX I
                              IN THE UNITED STATES DISTzuCT COURT
                           FOR THE EASTERN DISTzuCT OT' PENNSYLVANIA

                          CASE MANAGEMENT TRACK DESIGNATION FORM

   Cheryl Turk                                              :                        CIVIL ACTION

                               v.
  State Farm Mutual Automobile lnsurance Company
  d/b/a State Farm lnsurance Co.
                                                                                     NO

In accordance with the Civil Justice Expense aad Delay Reduction Plan of this court, counsel for
plaintiffshall complete a case Management Track Designatron Form i-n all civil cases at the time ol
filing the complaint and ser-ve a copy on all defendan{s. (See $ I :03 ofthe plan set forth on the reverse
side of this form.) In the went that a defendant does not agree with the plaintiff regardhg said
designatiorg that defendsnt shall, wilh its first appearance, submit to the clerk of court and serve on
the plaintiff and all other prties, a case managemenl. track designalion form speci$ing the track to
which that defendant believes the case should be assigned.

SELECT ONE OT'THE I'OLLOWING CASE MANAGEMENT TRACKS:

(a)   Habeas Corpw         -   Cases brought under 28 U.S.C. 52241 through $2255.                            ()
Q)    Social Security - Cases requesting rwiew of a decision of the Secretary of Health
      and Human S ervices denying plaintiffSocial Security Benefits                                          ()
(c) Arbitration      -   Cases requted to be designated for arbitraton under       tocal Civil Rule 53.2.    (    )

(d) Asbestos     -   Cases     involving claims for personal injury or property damage from
      exposure to asbestos.                                                                                  ()
(e) Special Muragement - Cases llral do not fall i*to tmcko (a) l]uough (d) that are
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(f) Standard Management             -   Cases that do not fall rrto any one of the other kacks
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    Aptil2T .2018                            Lori Miller                     State Farm Mutual Automobile lnsurance Company

Dale                                         Attorney-at-law                      Attorney for
  215-735-3994                              215-735-1 133                   lmiller@gmrlawfirm.com

1'elcphone                                    FAX Numbcr                          E-Mail Address


(Civ.660) l0n2
        Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 5 of 19



                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNYSLVANIA


CHERYL TURK




STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY d/b/a                             NO.
STATE FARM INSURANCE CO.



                           DISCI,OST]RE STATEMENT FORM

Please check one box:

x             The nongovemmental corporate party, State Farm Mutual Automobile Insurance
              Company, in the above listed civil action does not have any parent corporation
              and publicly held corporation that owns I 0% or more of its stock.

              The nongovemmental corporate party,                                     in the above
              listed civil action has the following parent corporation(s) and publicly held
              corporation(s) that owns 1002 or more of its stock:




Date                                                Signature

                             Counsel   for:   State Farm Mutual Automobile Insurance Company
         Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 6 of 19



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNYSLVANIA


CHERYL TURK




STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY d,6/A                             NO.
STATE FARM INSURANCE CO.




                                   NOTICE OF R.E,MOVAL

       AND NOW, comes the Defendant, State Farm Mutual Automobile Insurance Company

[hereinafter "State Farm"], for the purpose only    of removing this   case to the United States

District Court for the Eastem District of Pennsylvania and respectfully avers   as   follows:

       1.      This is a civil action filed and now pending in the Court of Common Pleas of

Bucks County, Pennsylvania, No. 2018-01632.

       2.      The action was initiated by the filing of a complaint on March 20, 2018. A copy     of

the complaint is attached hereto as Exhibil A.

       4.      State Farm is now, and was at the time the    Plaintiff commenced this action and

filed her Complaint, a corporation organized under the laws of the State of Illinois with its

principal place of business in Illinois, and therefore, is a citizen of Illinois for purposes of

derermining diversity. 28 U.S.C. $ 1332(c)(1).

       5.      PlaintifPs Complaint asserts two claims against State Farm: (1) breach of contract

and (2) statutory bad faith based on Plaintiff s claim for underinsured motorist benefits from an

alleged motor vehicle accident Plaintiff was involved in that occurred on June          6,2017.   See

Exhibit A.
         Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 7 of 19



       6.       Plaintiffs complaint alleges that policy at issue provided first-party medical

benefits in the amount of $100,000 and the count for Breach of Contract claims that Plaintiff is

entitled to an award in excess of $50,000. See Exhibit A.

       7.       The count for Statutory Bad Faith        in Plaintifls   complaint also alleges that

Plaintiff is entitled to an award in excess of $50,000. See Exhibit A,

       8.       Pursuant to 28 U.S.C.     $ 1332 the amount in conhoversy between Plaintiff             and

State Farm is in excess of Seventy-Five Thousand Dollars ($75,000) exclusive of interest and

costs, based upon the aggregate amount         ol Plaintiffs claims against State Farm in        excess   of

$100,000 plus attomey's fees and punitive damages since each Count         (l-ll)   states a district cause

of action against State Farm.

        9.      In addition, the amount in controversy is in excess of $75,000 exclusive of

interest and costs for the Plaintiff, based on the fact that punitive damages, such as tlose

authorized by the Pennsylvania bad faith statute, 42 Pa.C.S. $ 8371, are a permissible way to

bridge any jurisdictional gap to the extent any jurisdictional gap exists. Bell v. Preferred Life

Assurance Soci       320 U.S. 238 (1943)

        10.     This is a suit of civil nature and involves a controversy between citizens of

different states. Plaintiff is a citizen of the Commonwealth of Pennsylvania. Defendant, State

Farm, is a citizen of the State of Illinois.

        11.     28 U.S.C. $1446(b) provides that:

                        (1) The notice of removal of a civil action or proceeding shall be filed
                        within thirty days after the receipt by the defendant, through service or
                        otherwise, ofa copy ofthe initial pleading setting forth the claim for relief
                        upon which such action or proceeding is based.

        12.     State Farm files this Notice of Removal pursuant to 28 U.S.C.        $   1446(b)(43).
         Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 8 of 19



       13.     This notice of removal is being filed within thirty (30) days of State Farm's notice

of Plaintiff s Complaint, which is timely filed pursuant to 28 U.S.C. $ 1446(b)

       14.     The averments made herein are true and correct with respect to the date upon

which the complaint was filed, the date upon which State Farm was served with Plaintiff           s


Complaint, and the date upon which this notice is being filed.

       15.     Pursuant to 28 U.S.C. $ 1446(d), State Farm has filed this Notice with this Court

and is simultaneously serving a copy of this Notice upon counsel for all parties, and is filing a

copy in the Court of Common Pleas of Philadelphia County, Pennsylvania.

       WHEREFORE, State Farm Mutual Automobile Insurance Company hereby removes this

suit to this Honorable Court pusuant to the laws of the United States.

                              GOLDBERG, MILLER & RUBIN P.C.



                                            I
                              BY:
                                      Lori M er, Esquire
                                      I.D. NO. 60 t97
                                      Suite 1600, North American Building
                                      121 South Broad Street
                                      Philadelphia, PA 19107
                                      (2r5) 73s-3994
                                      Attomey for Defendant
                                      State Farm Mutual Automobile Insurance Company
         Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 9 of 19



                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNYSLVANIA


CHERYL TURK




STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY d,6iA                            NO.
STATE FARM INSURANCE CO.



                                NOTICE TO ALL PARTIES

To:    CHERYL TURK
       c/o Jeffrey S. Michels, Esquire
       Law Offices of Jeffrey Michels, LLC
       1234 Bridgetown Pike, Suite I l0
       Feasterville, PA 19053

       Please take notice that defendant, Slate Farm Mutual Automobile Insurance Company, by

its attorneys Goldberg, Miller & Rubin, P.C. has filed a Notice of Removal in the United States

District Court for the Eastem District of Pennsylvania removing to that Court a Civil Action

previously pending in the Court of Common Pleas of Bucks County, No. 2018-01632 captioned

Cheryl Turk v. State Farm Mutual Automobile Insurance Company



                             3?lru'to,j&'"yB*^. "
                                    Lori Miller, Esquire
                                    r.D. NO. 60197
                                    Suite 1600, North American Buiiding
                                    121 South Broad Street
                                    Philadelphia, PA 19107
                                    (21s) 73s-3994
                                    Attomey for Defendant
                                    State Farm Mutual Automobile Insurance Company
              Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 10 of 19



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNYSLVANIA


CHERYI- TI]RK




STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY d/b/a                                        NO.
STATE FARM INSURANCE CO.


                                                  PROOF OF FILING

COMMONWEALTH OF PENNSYLVANIA

COI,]NTY OF       BUCKS                     :




Lori Miller, Esquire, being duly swom according to law, deposes and says that she is an attomey
in the law firm of Goldberg, Miller & Rubin, P.C. attomeys for Defendant, State Farm Mutual
Automobile Insurance Company and that she did direct the filing with the Prothonotary of the
Court of Common Pleas ofBucks County a copy of the Notice ofRemoval attached hereto, said
filing to be made on Apil27,2018.
                                            GOLDBERG, MILLER & RUBIN P.C.


                                            BY:
                                                  Lori
                                                       tl ler, squrre
                                                  I.D. NO.  60197
                                                  Suite 1600, North American Building
                                                  121 South Broad Street
                                                  Philadelphia, PA 19107
                                                  (2ts) 73s-3994
                                                  Attomey for Defendants,
                                                  State Farm Mutual Automobile Insurance Company



Sw om and su             ed to
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Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 11 of 19




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             Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 12 of 19



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNYSLVANIA


CHERYL TURK




STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY d/b/a                                 NO.
STATE FARM INSURANCE CO.


       Lori Miller, Esquire, after being first duly swom upon oath, deposes and says that she is a
partner in the law firm of Goldberg, Miller & Rubin, P.C. attomeys for the Defendant, State
Farm Mutual Insurance Company, and that she did serve on April 27 , 2018 the aforementioned
Notice to all parties listed below depositing a copy of same in the United States Post Office box,
postage pre-paid, enclosed in an envelope plainly addressed to:


            CHERYL TURK
            c/o Jeffrey S. Michels, Esquire
            Law Offices of Jeffrey Michels, LLC
            1234 Bridgetown Pike, Suite 1 10
            Feasterville, PA 19053


                                           GOLDBERG, MILLER & RUBIN P.C.




                                     BY:
                                           Lori     9T, Esquire
                                           I.D. NO. 60197
                                           Suite 1600, North American Building
                                           121 South Broad Street
                                           Philadelphia, PA 19107
                                           (21s) 73s-3994
                                           Attomey for Defendants,
                                           State Farm Mutual Automobile Insurance Company

Sworn and subscribed to
me on thiqcl     lfh
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*   A,pUl            ,2018


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Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 13 of 19




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Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 14 of 19




           EXHIBIT A
                   Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 15 of 19
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                      COI,]RT OF COMMON PLEAS OF BUCKS COUNTY, PENNSYLVANIA
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                               CHERYL TURK
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                                       vs.
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69                                                                                          NO.2018-01632
            STATE FARM MUTUAL AUTOMOBILE INSURANCE
                           COMPANY
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EP                                                       CIVIL COVER SHEET
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          State RuIe 205.5 requires this form be attached to any document commencing an action in the Bucks
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          County Court ofCommon Pleas. The information provided herein is used solely as an aid in tracking
          cases in the court system. This form does not supplement or replace the           filing and service ofpleadings or
          other papers as required by law or rules of court.
EE

8€
                                                   JEFFREY S. MICHELS, Esq., ID: 49556
HE        Name of Plaintiff/Appellant's Attomey:
q,E
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                                                   Self-Represented (Pro Se) Litigant
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                Class Action Suit                        Yes          x    No
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                      Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 16 of 19




               JEFFREY S. MTCHELS, ESQI TRE                                             ARBITRANONCASE
               LA!/ OFFICES OF JEFFREY MICHELS, LLC                                     AN ASSESSMENT OF DAMAGES
               1234 BRIDGETOWN PIKE, SI,rTIE l IO                                       HEARINC IS REQIJIRBD
               FEASTERVILLE, PA 19053
               (2ts) 46r-26@                                                            ATTORNEY FOR PLAINTIFF
               IDENTIFICATION NO. 4955 6

               CHERYLTURK                                                               BUCKS COUNTY
               2013 Sunrise Way                                                         COURTOFCOMMONPIE.AS
               Jamison, PA 18929                                                        TRIALDIVISION
oP
                                 vs.
                                                                                        NO.
;F             STATEFARMMUTUALAUTOMOBILE                              .:

.ta€           INSIIRANCE COMPAI.IY, dlr'a STATE                       :
               FARMINSURANCECO.                                        :
EE             One State Farm Drive                                    l
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                      Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 17 of 19




             JEFFREY S. MICHELS, ESQI.]IRE                                 ARBITRATIONCASE
             LAW OFFICES OF JEFFREY MCTIELS, LLC                           AI{ ASSESSMENT OF DA},IAGES
             1234 BRIDGETOWN PIKE, SIJITE I10                              HEARINGIS REQI'IRED
             FEASTERVILLE, PA 19053
             Qlr45t-2ffi0
             IDENTIFICATION NO. 49556                                      ATTORNEY FOR PI-AINTIFF

             CHERYLTI.IRK                                                  BUCKS COT.]NTY
             2013 Sunrise Way                                              COURT OF COMMON PLEAS
             Iamison, PA 18929                                '|           TRIALDMSION
oE                          vs
                                                                          NO.
             STATE FARM MUTUAL AIJTOMOBtr,E
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             INSURANCE COMPANY, d/b/a STATE
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[{                    1.    Plahlitr, CHERYL TIIRK is an individual who crmently       resides at 2013 Sumise

.Hs          Way, Jmison, Pennsylvania 18929.
tt
r 89
r3       E            2.    Defendant, STATE FARM MUTUAL INSURANCE COMPANY, d/tr/a STATE
SEE
EE5          FARM INSIJRANCE COMPANY (hereinafter, "Defendant STATE FARM") is a foreip
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             corporalion   ttat   conducts business within Brrcks Cormty, Pennsylvania aod maintains a
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             rcgistcred office for senricc of process    d   one statc Farm Drive, concordville, pcnnsylvania
E$E          19339.
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                      3.    On or about Jrns 6, 2017,     Plaidifi CHERYL TURK, sustained personal    injuries
s3s
E; i.        in a motor vchicle accident
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Ita
Ea.t
I gs                  4,    On the aforesaid ,lare,   Plahtiff, CHERYL TLJRK was driving her work vehicle, a
&88
R* E         2002 chery    Ash,     which was owued by cheryl's cuslom cleanerq LLC, a pennsylvania
(!Qr,
edE          limited liability company owned by Plaintifl CHERYL TURK
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                 Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 18 of 19




                  5.   On the aforcsaid date, the vehicle Plaintitr, CIIERYL TURK was driviag was covercd

          by a policy of automobile insurrnce ia the name of Cheryl's Custom Clcaners, LLC, issued by

          Defendant, STATE FARM, policy number 0758576E01-38B (heteinafter,                 the'?OUCY). A
          tue   and correct copy of ths ryplicable Declaration Page issued by Defendaut, STATE FAFJVI, is

          attached herelo as Exhibit   'A",   atrd is incorporarcd herein by refercace.


(,p               6,      Plaintifr, CIIERYL      IURI(     as the owner and employec     of Cheryl's    Custom
aE
EP        Cleaners, LLC, was entitled to receive first-party medical loss bencfits undcr the POLICY       issud
3*
          by Defendant, STATE FARlvl,         pursunt to 75 PaC.S.A. 1713(a)(2).
.9s
EE                7,       As a result of the automobilc accident of Junc 6, 2017, Plaintitr, CHERYL
8:P
EF
8E        TIJFJL suffered severe and permaneot intcmsl and cxtcrnal injuries in and about thc hea4 body
E!
          and limbs, including but not limited to: lumbar drsc herniation confirmed by MRI; lumbar
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ri9       radiculopafhy, cetvical radiculopattry; aggravation          of left h8nd first   finger CMC joint
r{
          osteoarthitis; right long Iingcr steaosing tcnoq,novitis; and acutc post faumstic cervical dorsal
flE
sq
r tg      and lumbosaccal sprain and    stain.
33 E
o.E i
E ET              8.       As a firttrcr result of thc automobile accidcn! Plaintiff, CHERYL TLTRIq has
HEi
o^o.d     been obliged to rcceive and undergo medical attcntion and care and to expcnd various sums           of
ioE
          money or to incur various orpcnscs for which medical beoefib are payable mder the POLICY.
i$E
iaE
r$$               9.       Plaintifi CHERYL TIIRK        may be obliged to continue to expcnd various sums    of
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          money    for an indcfinite period of time into the future iu order to reccive ueahent for the
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ci€       injurics sutrered in the above-mentioned accident.
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                   10.     The POLICY provided Plaintitr with a total of $100,000.00      h   first-party medical
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&88       loss benefts.
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                   Case 2:18-cv-01798-PBT Document 1 Filed 04/27/18 Page 19 of 19




                   ll.    Defendant, STATE FARM, is refushg to pay any medical bills slaiming thst

           Plaintiff was irsured on a personal automobile insurance policy with Alstatc, despite fte fact

           that Plaintiff, CHERYL TIJRIT was in the course of her enplolment ard wus driviry the

           vehicle insured by Deferdant STATE FARlvI, Et tb€ time of the accideirt.

                   12.    At various times, Pl8intitr, CHERYL TURK's medical providcrs bavc rcquested

           Orat Defendant,   STATE FAP.I\,I, pay these mdical bills (.under Defendrnt STATE f,ARM'g
6tr
eE         clrin number:     380360C94) which have accumrdatcd between Jlme 6, 2017 to pre.sent.
EP
6x
.9s
                   13.    All of the medical bills Plaintifr, CHERYL TUFJL           has incured ar€   frir ed

EJ         reasonable, and    all trcatucoi   specified therein and continuing   to be performed was and is
ts
8E         mcdically necesssry as a result of the injruies that Plaintitr, CIIERYL TURIL sustained in thc
Ee
           accidcnt of June 6, 2017,1
fifl
St
6P                 14.    To dat€, Defendant, STATE FARM, has failed to pay atry of the medicsl bills

IE         attsibutsble to tbc injuries sustained by Plaintitr, CHERYL TURK in thc accident of June 6,
\B
st
r 89       2017.
3.q    S
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o* i                                      COI]NT I - BREACE OF CONTRACT
5 E€
s\.b
o^o 6               15.   Plaintiff, CIIERYL TURK, incorporates b€reitr by refenence the             avermonts

tc     E
           containcd in paragraphs   I   through 14 inclusive, as fully as though the same were herein set forth
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           at length.
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                    16.   As a direct result of the Defendant STATE FARM's refusal to pay the balanoe        of
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           nec.ssary and rcasonable medical expenses duc under the terms and conditions of the POLICY

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tt8        and the Pennsylvania Motor Vchicle Financial Responsibility        Lau Plaintitr, CHERYL     TLIRK,
.>a.t
83.s
e8E        has bben required to hire an attomey to collest the medical bills hcnein due.
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